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                   Thomas-Jensen
                    Affirmation
                     (redacted)


                      Exhibit # 64
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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK; STATE OF CALIFORNIA;
 STATE OF ILLINOIS; STATE OF RHODE ISLAND;
 STATE OF NEW JERSEY; COMMONWEALTH OF
 MASSACHUSETTS; STATE OF ARIZONA; STATE
 OF COLORADO; STATE OF CONNECTICUT;
 STATE OF DELAWARE; THE DISTRICT OF
 COLUMBIA; STATE OF HAWAI’I; STATE OF
 MAINE; STATE OF MARYLAND; STATE OF
 MICHIGAN; STATE OF MINNESOTA; STATE OF
 NEVADA; STATE OF NORTH CAROLINA; STATE
 OF NEW MEXICO; STATE OF OREGON; STATE OF
 VERMONT; STATE OF WASHINGTON; STATE OF
 WISCONSIN,

             Plaintiffs,
       v.

 DONALD TRUMP, IN HIS OFFICIAL CAPACITY AS
 PRESIDENT OF THE UNITED STATES; U.S.       C.A. No. 1:25-cv-00039
 OFFICE OF MANAGEMENT AND BUDGET;
 MATTHEW J. VAETH, IN HIS OFFICIAL CAPACITY
 AS ACTING DIRECTOR OF THE U.S. OFFICE OF
 MANAGEMENT AND BUDGET; U.S.
 DEPARTMENT OF THE TREASURY; SCOTT
 BESSENT, IN HIS OFFICIAL CAPACITY AS
 SECRETARY OF THE TREASURY; PATRICIA
 COLLINS IN HER OFFICIAL CAPACITY AS
 TREASURER OF THE U.S.; U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES; DOROTHY A.
 FINK, M.D., IN HER OFFICIAL CAPACITY AS
 ACTING SECRETARY OF HEALTH AND HUMAN
 SERVICES; U.S. DEPARTMENT OF EDUCATION;
 DENISE CARTER, IN HER OFFICIAL CAPACITY
 AS ACTING SECRETARY OF EDUCATION; U.S.
 FEDERAL EMERGENCY MANAGEMENT
 AGENCY; CAMERON HAMILTON, IN HIS
 OFFICIAL CAPACITY AS ACTING
 ADMINISTRATOR OF THE U.S. FEDERAL
 EMERGENCY MANAGEMENT,

             Defendants.



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                         DECLARATION OF ELIZABETH MAHONY

        I, Elizabeth Mahony, hereby depose and state as follows:

        1.      I am the Commissioner of the Massachusetts Department of Energy Resources. I

 have held that position since February 26, 2023. I make this declaration as a representative of

 the Massachusetts Department of Energy Resources (“DOER”), in part based on the business

 records of DOER, and in part based on my personal knowledge and experience. In my official

 capacity and based on my personal knowledge and other sources of information that I have

 obtained and reviewed in that official capacity, I am familiar with, and if called upon to do so

 would be competent to testify to, the facts and circumstances set forth herein.

        Solar for All Program

        2.      On October 11, 2023, DOER applied for a grant through the U.S. Environmental

 Protection Agency’s (“EPA”) Solar for All Program. DOER is the lead applicant for the

 Commonwealth of Massachusetts, to the Solar for All Program, which includes Coalition

 partners from other state entities and local nonprofit organizations. On April 22, 2024, DOER

 received confirmation from EPA that the Commonwealth had been awarded a $156 million

 award under the EPA’s Solar for All program.

        3.      After receiving the Solar for All grant, DOER began to design program specifics

 for the Massachusetts Solar for All program, to allow DOER and other Coalition members to

 expand access to solar power in the Commonwealth. The Massachusetts Solar for All program is

 designed to provide direct financial assistance for small residential, multifamily, and community

 solar projects, along with education and outreach, workforce development, enabling upgrades,

 and technical assistance.




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        4.      On September 1, 2024, the Massachusetts Solar for All program began incurring

 allowable costs under the grant. Per Massachusetts policy, the Office of the Comptroller of the

 Commonwealth of Massachusetts (“Comptroller”) overseeing financial systems for the

 Commonwealth submits draw down requests through the ASAP U.S. Treasury system on behalf

 of state agencies. On February 5, 2025, per the request of DOER, the Comptroller submitted a

 draw down request to reimburse allowable costs incurred by the Massachusetts Solar for All

 program.

        5.      On January 20, 2025, President Trump issued an executive order entitled

 Unleashing American Energy (“Unleashing”), which purported to end all funding under the

 Inflation Reduction Act of 2022 (“IRA”) and the Infrastructure Investment and Jobs Act

 (“IIJA”). The Solar for All Program was promulgated by the EPA under the IRA.

        6.      On January 28, 2025, DOER personnel received electronic mail from

 EPA_Grants_Info@epa.gov (EPA) stating that the agency has paused all funding actions related

 to the Inflation Reduction Act and the Infrastructure Investment and Jobs Act.




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        7.      As of February 4, 2025, the status of the DOER award in ASAP is marked as

 SUSPENDED. Absent the ability to draw down reimbursement for costs already incurred in

 furtherance of the Massachusetts Solar for All program, DOER will be unable to receive

 reimbursement for allowable personnel, fringe, and indirect costs incurred since the program

 start date of September 1, 2024. Additionally, DOER will be unable to reimburse Coalition

 partners for allowable personnel and fringe costs incurred since the program start date.




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 burdens without the savings from this program. Additionally, not moving forward with the

 implementation of the Massachusetts Solar for All program will delay or prevent the

 Commonwealth meeting its objectives of delivering good, well-paying jobs, including

 construction, trades, and installation services needed to support the program.




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 SIGNED UNDER THE PENALTIES OF PERJURY THIS 6th DAY OF FEBRUARY, 2025.




                                   Elizabeth Mahony
                                   Commissioner




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